           Case 1:22-mj-00076-GMH Document 13-1 Filed 04/11/22 Page 1 of 5




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                                              (A dJr¢S{ ndadeJ)
                                                     April 10, 2022


The Hon. G, Michael Harvey
United States Magistrate Judge
U,S. District Court
333 Constitution Avenue, NW
Washington, DC 20001


Re: United States v. Haider Ali, Case No,,1:22-mj-00076


Dear Judge Harvey:


         I am Shergeel Khan, Haider Ali's older brother. I am a U.S. citizen and have lived in the U.S. since August 2001.
I graduated from University of Virginia jn 2009 and after working with my father for a couple of years,I moved to
Atlanta for 7 years, where I worked at Delta Air Lines as a Sr. Business Analyst. I completed my MBA from Emory
University's Goizueta Business School in 2017 and returned to Virginia in 2019 to be close to my parents. I currently
work at Fannie Mae as a Senior Associate in Product Analysis and have been in that role since April 2020.


    I have known Haider Ali all my life. Our family moved to U.S. together in August 2001 and being typical immigrants
trying to create the American dream for our family, have stayed close. I have known Haider to be an extremely hard-
working individual who has always been there for the family through thick and thin. When my father had heart
problems and needed surgery, Haider is the one who took care of him, Since I moved back to Virginia, Ali and I see
each other frequently at family events.

   All underwent a spiritual evolution where he first adopted Sufism and later started following the Shia sect in Islam.
Ali has traveled to different countries as part of that transformation. It is my understanding that these travels several
years ago to Iran, Iraq and Egypt involved visits to various religious shrines as confirmed by the various gifts to the
family after coming back to U,S. Despite his change in ideology, however, he has shown no signs of being radicalized
and has continued to remain close to the family, all of whom are Sunni.


         To the best of my knowledge, Ali has no links whatsoever to any Pakistani intelligence agency. I do not believe
Ali to be a danger to anyone. He has been a doting father and an extremely loving uncle to my children. I am confident
he would appear for Court as required. All is a U,S. citizen and has 4 children who are all under five years of age,
including a new-born daughter and is sorely needed at home. He has been living in the U.S. since 2001 and this is the
only life he knows. His wife just had knee silrgery and is immobilized for the next six weeks. It has been difficult for us
to take care of his kids considering I have 2 toddlers of my own.


         My family and I are fully supportive of Ali and are committed to doing whatever is required to ensure that Ali
abides by any terms and conditions Of his release and that Ali shows up for Court as required.

 Best regards,


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 Shergeel Khan
      Case 1:22-mj-00076-GMH Document 13-1 Filed 04/11/22 Page 2 of 5




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                                               April io, 2022

The Hon. G. Michael Harvey
United States Magistrate Judge
U.S. District Court
333 Constitution Avenue, NW
Washington, DC 20001

Re: United States v. Haider Ali, Case No., I :22-mj-00076

DearJudgeHarvey:

       I am Leyly Castro, Haider Ali's wife. I have been in the U.S. since 2014, I have been living in
the Washington, DC metropolitan area since 2015 and have resided at the above address since 2021. I
met Haider in the beginning of 2015, and we immediately fell in love. We have been married for 6
years now. We got married in September 2015. Haider and I have had an overall extremely pleasant
mariage. We felt settled enough in our marriage to immediately start planning for children. We have
four children together: Faryaal Zahra is 5, Ghulam Abbas is 4, Aleeha Batool is 3, and Noorain Zahra
is 1 month old.

        Alound July 2018, we had an argument because of a misunderstanding. I hadn't been well
since I had a medical procedure performed shortly before, and I was heavily medicated. Those
medicalons impaired my judgment, making me incoherent. Three days later, when the effects of the
medications wore-off, Haider and I reconciled. We went to court, and I did not wish to press charges
against ny husband. It has almost 4 years since that incident, and Harder and I have been happily living
together since then and we have even had 2 children together since then. I do not consider my husband
to be dangerous in any way or likely to cause harm to me or anyone else.

        Haider Ali is a very loving husband and an extremely kind father. He has always been there
for our family. The children adore him and love him immensely. Ever since I have had problems with
my knee, for which I just underwent surgery, he has been helping take care of me and the kids. His
absence has placed an undue burden upon our family. It has been extremely difficult to take care of 4
children while being bed-ridden. The doctors mentioned it will take me at least a couple of months
before I can walk again.

        I an confident Harder would appear for Court as required.. ire have young children and have
always spoken about our children going to college in the U.S., something that Haider and I always
aspired to do, but were unable to do. I fully support him and will do whatever is necessary to ensure
that Haider abides by the conditions of release and that Haider also will show up for court as required.

 Sincerely,

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 Leyly Castro
  Case 1:22-mj-00076-GMH Document 13-1 Filed 04/11/22 Page 3 of 5




Sohaib F. Khan

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April loth, 2022

The Hon. G Michael Harvey
United States Magistrate Judge
U.S. District Court
333 Constitution Avenue, NW
Washington, DC 20001

Re: United States v. Haider Ali, Case No.,1-22-mj-00076

Dear Judge HaIvey:

My name is Sc>halb Khan and I an Haider Ali' s younger brother. rm ourretitly a second year resident
in oral and maxillofacial surgery residency at Howard university hospital in Washington D.C. I moved
to the U.S in August 2001 with the rest of my siblings and mother. I started Amandale high school
and subsequently attended Northern Virginia community college and George Mason University for
undergraduate studies in biology. After acquiring my master' s degree in physiology and biophysics
from Georgetown University, I started Howard Uhiversity College of dentistry from 2014-2018. I
started my residency in 2020 after spending a year internship at university of Maryland Baltimore and
one year at University of Missouri- Kansas City oral and maxillofacial surgery program.

Haider and I have always beeD close since childhood. Being my older brother, he has always been
protective of me, helping me stay focused on school and cheering my success. When our family
needed help, he was the always the first one to put his hand up, he even gave up his dream of finishing
college to help the family. I remember when I moved to Kansas City, Harder was the fist one to tell
me that he will always be there to help if I ever needed anything.

I find great pleasure to see that his caring and loving nature is increased 100 folds when it comes to
his kids. He spends a lot of time with his wife and four children who all love him very dearly and miss
him the moment he isn't around. He is a devoted father and I do not believe him to be a danger to
anyone.

Despite having busy schedules, we still keep in touch. Even though, he now practices a different sect
of Islam, he is still the same caring and loving brother. Haider cannot imagine a life without his wife
and children and the only place he would be is by their side. I am confident that he will keep his
commitment to the court of showing up to all his court dates. Furthermore, my family and I are
committed to ensure that he abides by the terms of his release.

Thank you,

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Sohaib Than
  Case 1:22-mj-00076-GMH Document 13-1 Filed 04/11/22 Page 4 of 5




Zahida Sho ukat

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April loth, 2022

The Hon, G Michael Harvey
United States Magistrate Judge
U.S. District Court
333 Constitution Avenue, NW
Washington, DC 20001

Re: United States v. Halder All, Case No,,1-22-mj-00076

Dear Judge Harvey:

I am Zahida Shoukat, mother of four beautiful children, one of whom is Haider Ali. I am a
bachelor in microbiology from Karachi University in Pakistan. I came to the United States of
America in 2001 with my four children for a better future for them. I am a full time homemaker
and I have dedicated my life to ensure that all my four children achieve the American dream
after coming to the beautiful country.

All my children are wonderful but my middle son, Haider A]i is special. His loving nature is
unparalleled by any of my other three children. He has done more for this family than any one
else, While my other children went off to college and focused on their careers, Haider was the
one who kept the family together and looked after myself and my husband. During the years,
when I needed to make to my arthritis appointments and cancer testing, Haider was there by my
side in a]] those times,

Now he has a wife and four beautiful children of his own. And despite being busy with them, he
always finds time to ask how I am doing, how is my health and if I need anything. We see Haider
and his fandly once a week and all the children tell their stories of how they spend time with
their father. I am pleased to see the father and the husband he has become.

I being Haider's mother know he will appear for his hearings on his court dates, I will also make
sure; he never misses any of them,


Thankyou,



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Zahida Shoukat
          Case 1:22-mj-00076-GMH Document 13-1 Filed 04/11/22 Page 5 of 5




                                                   SHOUKAT RAZA



                                                       APRILL 10, 20Z2


THE WON. G. MICHAEL HARVEY

UNITED STATE MAGISTRATE JUDGE


US DISTRICT COURT


333 CONSTITUTION AVENUE, NW


WASHINGTON, DC 20001




RE :        UNITED STATE V. HAIDER All, CASE NO.,1:22-MJ-00076




DEARJUDGE HARVEY:


I AM SHOUKAT RAZA, FATHER OF HAIDER All. I AM PERMANENT RESIDENT OF UNITED STATE, LIVED IN USA SINCE 2000. I AM RESIDING AT "E
ABOVE ADDRESS OVER A DECADE. I AM WORKING WITH LIMOuSINE COMPANY SllNCE 2000 AND MAI NTAINED THE SAME JOB. I ALSO WORK AS
AN INSURANCE AGENTAND A TAX PREPARER.         I HAVE A MASTER'S DEGREE IN ECOMICS.


I HAVE KNOWN MR. HAIDER All ALL MY UFE. HE CAME TO UNITED STATE IN 2001. HAIDER Au WAS LIVING WITH FAM`lY S`NCE THEN. tlE IS
VERY SINCERE, LOVING, HARDWORKING. H E WAS VERY HELPFULL AND AVAILABLE WHEN I NEEDED HIM. A VERY DEVOTED AND LOYAL SON. WE

LIVED TOGATHER ABOUT 19 YEARS. HE WAS MARRIED AND HAD THREE CHILDERN WHEN HE MOVED OUT IN 2020. WE WERE REGULARLY

VISITING GRAND CHILDERN, FAMILY AND VISE VEfisA.


I AM NOT AWARE OF HAIDER All HAviNG ANy cONNECTioN TO pAKisTANi INTELLLiGENCE. iT is iNcORRECT AND BEyoND ANy cREDITiBiLlrv. I
WHOLE HEARTEDLY BELIEVE AND CONFIDENT TO SAY THAT HAIDER All ls NOT DANGER TO ANYONE.HE IS VERY LOVING FATHER AND GOOD
SON.


HAIDER All WAS FIRST INCLINED TOWARD SOFISM AND THEN LATTER ON HE CONVERTED T0 SHIA SECT IN ISLAM. HAIDER All `'S TRAVEL T0
DIFFERENT COUNTRIES WAS WITH THE PURPOSE OF VISITING SHRINES 0F MUSLIM SANITS/SCHOLARS FOR SPRITUAL EVOLUTloN.HE GAVE
VERIOUS GIFT TO FAMILY WHEN H E RETURN BACK TO US. IN SPITE OF CHANGE IN HIS BELIEF SYSTEM HE CONTINUED TO REMAIN CLOSE TO
FAMILY.


HAIDER All ls A FATHER OF FOUR CHILDERN ALL UNDER THE AGE OF Stx YEAR,S OF AGE INCLUDING A NEWBORN DAUGHTER AND IS
DEspERATELy NEEDED AT HOME. His wlFE HAD jusT GONE TmouGH KNEE suRGERy AND will NOT BE ABLE TO MOvE FOR AN OTHER six
WEEKS, lT HAS BEEEN DIFFICULT FOR ME TO TAKE CARE OF HIS KID CONSIDERING MY AILMENT.


MY CHILDERN AND I ARE FULLY SUPPORTIVE OF Au AND COMMITTED TO DOING WHATEVERE IS.REQUIRED TO ENSURE THAT Au ABIDES BY ALL
TERMS AND CONDITIONS OF HIS RELEASE ANDALI SHOW UP FORTHE COURTAS REQUIRED.          .


KIND REGARDS




SffouKITRAZA

SHOuRAT RAZA
